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                  IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION




UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                               NO. 4:07CR00127-007 SWW

JEFFREY STENDER                                                              DEFENDANT



                                             ORDER

       Pending before the Court is the above-named defendant’s motion for early termination of

supervised release (doc #742). After a review of the motion, the Court is of the opinion that a

response by the United States of America would facilitate the resolution of the motion. The Court

therefore directs the United States to respond to the motion on or before twenty (20) days after the

date of entry of this Order.

       IT IS SO ORDERED this 20th day of August 2015.



                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE
